  Case 3:18-cv-03138-G Document 1 Filed 11/28/18             Page 1 of 9 PageID 1


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

AIR TRANSPORT INTERNATIONAL,               §
INC. as fiduciary of the AIR               §
TRANSPORT INTERNATIONAL, INC.              §
WELFARE PLAN                               §
                                           §       CIVIL ACTION NO. 3:18-cv-3138
V.                                         §
                                           §
$72,193.51 in settlement funds             §
For Jane Ferguson-Suter, a/k/a             §
Jane E. Suter,                             §
Deceased                                   §

________________________________________________________________

                PETITIONER'S ORIGINAL COMPLAINT
________________________________________________________________

         COMES NOW Air Transport International, Inc. as Fiduciary of the Air

Transport International, Inc. Welfare Plan, Petitioner herein, and files this

Original Complaint, and in support thereof would show unto the Court as follows:

         This is an action for equitable relief arising under the Employee

Retirement Income Security Act of 1974, as amended (hereinafter “ERISA”), 29

U.S.C. §1001 et seq. Specifically, Plaintiff seeks equitable relief under ERISA

§502(a)(3), 29 U.S.C. §1132(a)(3).

                                           I.

                                        PARTIES

1.       Petitioner is a fiduciary of the Air Transport International, Inc. Welfare

Plan. Air Transport International, Inc. is a foreign corporation with its principal

place of business in Wilmington, Ohio.          The Air Transport International, Inc.

PETITIONER'S ORIGINAL COMPLAINT                                                Page 1
K:\246\24644\Pleadings\complaint.docx
 Case 3:18-cv-03138-G Document 1 Filed 11/28/18              Page 2 of 9 PageID 2


Welfare Plan is a self-funded group welfare plan established and maintained

under ERISA. All benefits are paid from a fund established through employer

and participating employee contributions. None of the benefits are paid through

an insurance policy.

2.       Jane Ferguson-Suter, a/k/a Jane E. Suter, was a resident of the State of

Texas on August 18, 2016, when she was involved in an accident with a third

party.    Ms. Ferguson-Suter passed away after reaching a settlement for her

personal injuries from the August 18, 2016 accident.           No probate has been

established for the estate of Ms. Ferguson-Suter, nor is one expected.

3.       The Law Offices of Dean Malone (via its trust account) is in possession of

the $72,193.51 settlement funds at issue. The Law Offices of Dean Malone is

not asserting an interest in the $72,139.51.


                                         II.
                                    JURISDICTION

4.       This Court has original and exclusive jurisdiction over Petitioner’s claim for

appropriate equitable relief and to enforce the terms of an ERISA plan pursuant

to §502(a)(3), 29 U.S.C. §1132(a)(3) and ERISA §502(e)(1), 29 U.S.C.

§1132(e)(1) and 28 U.S.C. §1331.

                                      III.
                             FACTUAL BACKGROUND

5.       The Air Transport International, Inc. Welfare Plan (sometimes referred to

herein as "the Plan") provides healthcare benefits to certain employees of Air

Transport International, Inc., their spouses and dependents, including Jane

Ferguson-Suter, as covered persons.
PETITIONER'S ORIGINAL COMPLAINT                                                 Page 2
  Case 3:18-cv-03138-G Document 1 Filed 11/28/18                  Page 3 of 9 PageID 3


6.       The Plan contains a provision requiring a covered person who has a

medical injury, illness or condition that is caused by a third party, and who

recovers from such third party, or an insurance carrier, to immediately repay the

Plan for the medical expenses paid by the Plan.

7.       The Plan provides that it shall have a first priority right to reimbursement

from any settlement received by a plan participant. This right is for first priority

lien against any settlement benefits, and provides for 100% reimbursement,

without any reduction for attorneys fees or when the plan participant is not made

whole by the settlement.                Benefits provided under the Plan are fully funded

directly by the employer and participating employee contributions, not through

any insurance carrier. Air Transport International, Inc. is the Plan Administrator,

and has delegated claims administration of the Plan to a third party administrator,

United Healthcare; however, the third party administrator does not insure the

plan. United Healthcare processes claims under the Plan pursuant to the terms

of the plan, and pays claims with the Plan’s funds, not insurance funds.

8.       On August 18, 2016, Jane Ferguson-Suter was involved in an accident

caused by the negligence of a third party ("the accident"). As a result of the

accident, Ms. Ferguson-Suder sustained personal injuries requiring medical

treatment.       Ms. Ferguson-Suder was a Plan participant on the date of the

accident. The Plan paid $72,193.51 for certain medical treatment due to the

injuries incurred in the accident.

9.       Ms. Ferguson-Suter was represented for her personal injuries in the

accident by The Law Offices of Dean Malone. A settlement was reached and a
PETITIONER'S ORIGINAL COMPLAINT                                                    Page 3
K:\246\24644\Pleadings\complaint.docx
    Case 3:18-cv-03138-G Document 1 Filed 11/28/18                         Page 4 of 9 PageID 4


settlement check was issued for the personal injuries sustained in accident. The

settlement check was deposited into the IOLTA account of The Law Office of

Dean Malone. Ms. Ferguson-Suter passed away after the settlement funds were

received.

10.     The settlement funds are in the possession of the Law Office of Dean

Malone (via its trust account). These funds rightfully belong in good conscience

to the Plan.        However, the Law Office of Dean Malone cannot release the

$72,193.51 without a court order, due to the death of his client.

11.     The ERISA statute at 29 U.S.C. § 1104(1) creates a "prudent man"

standard for a fiduciary to discharge its duties solely in the interests of the

participants and beneficiaries, for providing benefits, defraying costs…and in

accordance with the terms of the plan documents.                        Petitioner therefore has a

fiduciary duty to protect Plan assets, which includes reimbursement payments

from settlements.

12.     The ERISA plan creates an equitable lien by agreement. When such a

lien exists, the constructive lien is placed against settlement funds at the moment

they are identified, thus transferring title to those funds instantly to the Plan at the

moment the settlement funds come into existence.                          Sereboff v. Mid Atlantic

Medical Service. Inc., 547 U.S. 356, 126 S. Ct. 1869, 164 L.Ed.2d 612 (2006).1

Moreover, once the title transfers to the ERISA Plan at the moment funds are

identified, the plan member cannot then transfer those funds to another party

because the member's rights to receive the funds are subordinate to the Plan's

1
 See discussion in pages 363-364, tracing the history of the equitable doctrine, and relying upon Barnes v.
Alexander, 232 U.S. 117, 34 S.Ct. 276, 58 L.Ed. 530 (1914).
PETITIONER'S ORIGINAL COMPLAINT                                                                     Page 4
  Case 3:18-cv-03138-G Document 1 Filed 11/28/18             Page 5 of 9 PageID 5


equitable lien. ACS Recovery Services, Inc. v. Griffin, 723 F.3d 518, 528 (5Th

Cir. 2013).

13.      Finally, when a self-funded ERISA plan requires complete reimbursement

and clearly disclaims the common fund and made whole doctrines, the terms of

the plan will be enforced as written, and the plan is entitled to full reimbursement.

US Airways v. McCutchen, 133 S.Ct. 1537 (2013).

                                          IV.

                                CLAIMS
                 COUNT 1—ENFORCEMENT OF ERISA PLAN TERMS

14.      Paragraphs 1 through 13 are hereby incorporated as if fully set forth

herein.

15.       Pursuant to §1132(a)(3), the Plaintiff seeks equitable relief to enforce the

terms of the ERISA Plan.

16.      Upon information and belief, the Law Office of Dean Malone (via its trust

account) is in actual possession of settlement proceeds, and is therefore in

possession of funds that as a matter of equity and good conscience belong to the

Plan.

                          COUNT 2--RIGHT OF REIMBURSEMENT

17.      Paragraphs 1 through 16 are hereby incorporated as if fully set forth

herein.


18.      The Plan contains the following provisions:




PETITIONER'S ORIGINAL COMPLAINT                                                Page 5
K:\246\24644\Pleadings\complaint.docx
    Case 3:18-cv-03138-G Document 1 Filed 11/28/18                 Page 6 of 9 PageID 6


SECTION 11 - SUBROGATION AND REIMBURSEMENT2

        ... The right to reimbursement means that if a third party causes or is alleged to have
        caused a Sickness or Injury for which you receive a settlement, judgment, or other
        recovery from any third party, you must use those proceeds to fully return to the
        Plan 100% of any Benefits you received for that Sickness or Injury....

The following persons and entities are considered third parties:

        • a person or entity alleged to have caused you to suffer a Sickness, Injury or
        damages, or who is legally responsible for the Sickness, Injury or damages;
        • any insurer or other indemnifier of any person or entity alleged to have caused or
        who caused the Sickness, Injury or damages;...

You agree as follows:

        • The Plan has a first priority right to receive payment on any claim against a third
        party before you receive payment from that third party. Further, the Plan's first
        priority right to payment is superior to any and all claims, debts or liens asserted by
        any medical providers, including but not limited to Hospitals or emergency treatment
        facilities, that assert a right to payment from funds payable from or recovered from
        an allegedly responsible third party and/or insurance carrier.

        • The Plan's subrogation and reimbursement rights apply to full and partial
        settlements, judgments, or other recoveries paid or payable to you or your
        representative, no matter how those proceeds are captioned or characterized.
        Payments include, but are not limited to, economic, non-economic, and punitive
        damages. The Plan is not required to help you to pursue your claim for damages or
        personal injuries and no amount of associated costs, including attorneys' fees, shall
        be deducted from the Plan's recovery without the Plan's express written consent. No
        so-called "Fund Doctrine" or "Common Fund Doctrine" or "Attorney's Fund
        Doctrine" shall defeat this right....

        • If you receive any payment from any party as a result of Sickness or Injury, and the
        Plan alleges some or all of those funds are due and owed to the Plan, you shall hold
        those funds in trust, either in a separate bank account in your name or in your
        attorney's trust.. account. You agree that you will serve as a trustee over those funds
        to the extent of the Benefits the Plan has paid...

        • In the case of your wrongful death or survival claim, the provisions of this section
        apply to your estate, the personal representative of your estate, and your heirs or
        beneficiaries.



2
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PETITIONER'S ORIGINAL COMPLAINT                                                         Page 6
    Case 3:18-cv-03138-G Document 1 Filed 11/28/18                   Page 7 of 9 PageID 7


         • No allocation of damages, settlement funds or any other recovery, by you, your
         estate, the personal representative of your estate, your heirs, your beneficiaries or any
         other person or party, shall be valid if it does not reimburse the Plan for 100% of its
         interest unless the Plan provides written consent to the allocation.3


19.      As shown above. the Plan specifically provides a first priority right of 100%

reimbursement from third party settlements, imposes an equitable lien by

agreement and constructive trust over any settlement funds; and disclaims the

made whole and common fund doctrines.


                                             V.
                                          DAMAGES

20.       To enforce the ERISA Plan terms, the Plan seeks appropriate equitable

relief, pursuant to ERISA §502(a)(3), 29 U.S.C. §1132(a)(3), in the form of (1) the

imposition of a constructive trust and equitable lien in favor of the Plan upon the

settlement funds in possession of the Law Office of Dean Malone; (2) a

declaration of the Plan’s ownership of the $72,193.51 in settlement proceeds;

and (3) an order directing the Law Office of Dean Malone to pay or turn over

such proceeds to the Plan, and directing it to execute any documents or

instruments necessary to transfer legal title of the funds to the Plan.

                                             VI.
                                           PRAYER

21.      For these reasons, Petitioner respectfully asks that the Court:

                  a)        impose a constructive trust and equitable lien in favor of

                  Plaintiff against the settlement proceeds;


3
 Pages 87-88 of the Plan.
PETITIONER'S ORIGINAL COMPLAINT                                                           Page 7
K:\246\24644\Pleadings\complaint.docx
 Case 3:18-cv-03138-G Document 1 Filed 11/28/18        Page 8 of 9 PageID 8


            b)    declare Petitioner the owner of the settlement proceeds;

            c)    order the Law Office of Dean Malone to turn over the

                  $72,193.51 in settlement proceeds held in its trust

                  account;

            d)    enter judgment for Petitioner; and

            e)    grant any other further equitable relief which the Court

            deems appropriate.

                                      Respectfully submitted,


                                        /s/ Laura D. Schmidt
                                      Laura D. Schmidt
                                      Texas Bar No. 22142300
                                      DOWNS & STANFORD, P.C.
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                                      Dallas, Texas 75201
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PETITIONER'S ORIGINAL COMPLAINT                                          Page 8
  Case 3:18-cv-03138-G Document 1 Filed 11/28/18             Page 9 of 9 PageID 9




                                    CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the foregoing instrument
has been served upon the following by the method indicated:

         Dean Malone
         LAW OFFICES OF DEAN MALONE
         Founders Square
         900 Jackson St., Ste. 730
         Dallas, TX 75201
         By fax 214-670-9904
         and email dean@deanmalone.com


         Courteney Elizabeth Suter
         5225 Maple Ave, Apt 2405
         Dallas,TX 75235-8446
         By Certified Mail, Return Receipt Requested


                                                      /s/ Laura D. Schmidt
                                                    Laura D. Schmidt




PETITIONER'S ORIGINAL COMPLAINT                                              Page 9
K:\246\24644\Pleadings\complaint.docx
